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Q STATES DISTRICT COBH
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2U16DEC-8 AM 9: 49
DONALD OTIS WILLIAMS, CLERK, US DISTRICT COURT

Petitioner, Hing ALA rh ORIOL FL
V. Case Number: 5:16-cv-357-Oc-PRL

LEGAL MAIL.

SECRETARY, DEPARTMENT, PROVIDED TO)*
OF CORRECTIONS AND . FLORIDA STATE PRISON
FLORIDA ATTORNEY GENERAL, DATE_/275-/6 FOR MAILING.

Respondents , INMATES INITIALS DCW

/
ADDENDUM TO THE

PETITION _.FOR WRIT OF HABEAS CORPUS

Petitioner comes before the honorable Court in the above styled cause and
respectfully submits grounds, claims, issues, sub-issues and arguments submitted
to the State trial court which were denied whereas the result thereof directly
created the above referenced cause in this Court. With leave of Court assumed
acceptable Petitioner presents the following:

1. The Court has designated Petitioner’s cause to proceed under Rule 3.05.

Petitioner is in complete compliance.

2. Petitioner submitted his Petition pursuant to 28 U.S.C. § 2254 in a timely
manner despite Respondents not adhering to constitutional law inter alia and trial

court not enforcing its own order directed at Respondents and Lake County,

Florida Sheriff.
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3. Petitioner has until February 10, 2017 before the standard 2(two) year
deadline to file for relief regarding other collateral claims with the trial court
expires pursuant to Florida Rules of Criminal Procedure 3.850, however unless
trial court orders companion case transcripts to be introduced into the case inter
alia depositions, statements made under obvious penalty of perjury, mental health
experts reports, medical records, etc. Petitioner pleaded for before, during and
after the violation of probation (VOP) proceedings Petitioner does not foresee
additional pleadings with trial court which would be an enormous tragedy.

4. Petitioner listed 4 grounds (The maximum allowed in the petition form) in
the Petition. They are:

(a) Petitioner was denied counsel at sentencing hearing [FN 1]

(b) Trial court forced Petitioner to represent himself during VOP
proceedings [FN 2]

(c) Petitioner was denied due process during VOP proceedings [FN 3}

(d) Prosecutorial misconduct in failure to provide address and phone number
of extremely critical exculpatory witness and: but not limiting discovery violations
clearly apparent in proceeding transcript [FN 4]

5. Petitioner at this time moves the Honorable Court to grant Petitioner
permission to supplement the Petition with claims presented and denied in the State

courts directly attached to Petitioner’s cause. The arguments include ineffective
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assistance of appellate counsel, as well as Petitioner’s claims presented to trial

court before and during VOP proceeding notwithstanding Rule 3.850 motions and

related pleadings.

6. Petitioner furthermore moves the Honorable Court to allow Petitioner
adequate time to prepare and present a brief descriptively outlining each ground
and claim accordingly which would be beneficial to the Court.

7. Petitioner at this time provides the Court with exhibits referenced in the

case’s petition.

APPENDIX

Document Exhibit
5 DCA Correspondence Dated May 4, 2016 as eeeeeeeessseseeeees A
Public Defender Correspondence Dated 9/25/2001 ...........sccceseeees B
Lake County Florida Detention Center Medical Records ............... C
Petitioner’s State Circuit Court Notice to the Court

And Motion for Appointment of Counsel Dated June 2, 2016 ........ D
Online Acquired Medical Information of Doxepin & Depakote ........ E
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CERTIFICATE OF AUTHENTICITY
I hereby certify the above documents are exact copies of document provided

to Petitioner by referenced Parties.

CERTIFICATE OF SERVICE
I certify this instrument and an exact copy was sent by U.S. mail to this

Court’s Clerk and Respondent’s counsel at 444 Seabreeze Blvd., 5 Floor, Daytona

Beach, Florida 32118 on Decemoer 5. , 2016.

I declare under penalty of perjury the foregoing statement is true and correct.

Executed on this Ay dayof Necemser 2016.

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wt

Respectfully submitted by /s/ \
Donald O. Williams, DC# U13479

Florida State Prison
P.O. Box 800
Raiford, FL 32083

FOOTNOTES

[FN 1] Hays v. State, 63 So.3d 887 (Fla. 5" DCA 2011)

[FN 2] Sanchez v. Mondragon, 858 F.2d 1462, 1465-66 (C.A. 10 N.M. 1988)

[FN 3] Circuit Court Record

[FN 4] Circuit Court Record
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CERTIFICATE OF

I HEREBY CERTIFY, that I placed this document in the hands of
’ prison officials at Florida State Prison.

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